Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 1 of 14 Page ID #4




  COMPOSITE EXHIBIT A
     Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 2 of 14 Page ID Electronically
                                                                             #5             Filed
                                                                                                    Kahalah A. Clay
                                                                                                       Circuit Clerk
                                                                                                   Morgan Ragsdale
                                                                                                         - 21L0148
                                                                                                   St. Clair County
                                         IN THE CIRCUIT COURT                                  2/16/2021 12:00 AM
                                                                                                          12213469
                                      TWENTIETH JUDICIAL CIRCUIT
                                       ST. CLAIR COUNTV, ILLINOIS

   MACKENZIE HISE f/k/a MACKENZIE BROWN, )
   individually and on behalf of all others similarly )'
   situated,                                          )
                                                           )
                     Plaintiff,                            )      Case No. 21 L0148
   V.                                                      )
                                                           )
   ENHANCED RECOVERY COMPANY, LLC,                         )
                                                           )
   Serve registered agent at:                              )      I)EMANI) FOR JURY TRIAL
---Illinois CorporatioriService Co: -----         -- -     )-
   801 Adlai Stevenson Drive                               )
   Springfield, Illinois 62703                             )
                                                     .     )
                     Defendant.                            )

                        ~               CLASS ACTION COMPLAINT

            Plaintiff MacKenzie Hise, formerly known as MacKenzie
                                                         ,
                                                                  Brown, individually, and on

   behalf of all others similarly situated, by her undersigned counsel, and for her Class Action

   Complaint against Defendant Enhanced Recovery Company, LLC, states:

                 ,                Introduction, Parties, Jurisdiction and Venue

            1.       The primary purposes of the Fair Debt Collection Practices Act ("FDCPA") are to

   eliminate "abusive debt collection practices by debt collectors" and to "insure _that those debt

   collectors who refrain froin using abusive debt collection tactics are not competitively
        ~
                                                                                           ,
   disadvantaged." 15 U.S.C. §1692(e).

            2.       Enhanced Recovery. Company, LLC, a debt collector, violated the FDCPA by

   engaging in two forms of prohibited conduct.

            3.       First, Enhanced Recoveiy Company; LLC, systematically used deceptive practices

   to collect time-barred debts (i.e. debts that cannot be sued on because they are. beyond the




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 Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 3 of 14 Page ID #6




applicable statute of limitations) from Plaintiff MacKenzie Hise and the putative class members.

Specifically, Enhanced Recovery Company failed to disclose that the debts were not legally

enforceable because they were time-barred and failed to disclose the effect of making a payment

on a time-barred debt.

        4.      Second, Enhanced Recoveiy Company misled MacKenzie Hise and the putative class

members that ERC was offering to settle their accounts, when, in reality, the "settlement" offered

was merely a payment toward the entire balance alleged to be owed.

        5. --    This - case ultirriatelyseeks- to rectify- Enhanced--Recovery -Company,—LLC's —

misconduct, while leveling the playing field for debt collectors who actually follow the rules.

        6.       Plaintiff MacKenzie Hise, formerly known as MacKenzie Brown ("Hise" or

"Plaintiff") is an individual who resides in St. Clair County, Illinois.
                                                                    y



        7.       Defendant Enhanced Recovery Company, LLC ("ERC" or "Defendant") is a
                                                                                                     ,
Delaware limited liability company that is registered with and in good standing with the Illinois

Secretary of State.

        8.       ERC operates in the State of Illinois as a"Licensed Cdllection Agency,"

        9.       ERC's website describes its "Core Services" as including `.`Recovery &

Collections."

       10.       ERC's
                   . website states that ERC provides
                                               ,      "debt collection" services.
                       y
       11-..     ERC's website states that ERC represents "a number of different creditors"

including, but not limited to creditors in the "telecommunications". industry.

       12.       ERC's website states that ERC's "goal is to make the collections process as easy

as possible for both the creditor and the consuiner."




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                  Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 4 of 14 Page ID #7




                             13.    ERC's website states that the reason it contacts'a consumer "is because [ERC has]

                 received information that potentially links [the consumer] to a debt that we have been contracted

                 to collect."

                             14.    ERC's website states that ERC "is contracted by creditors and in some instances

                 debt purchasers. ERC® does not own any of the debts in which we service and we are classified

                 as a`Debt Buyer.' If we are contacting you regarding a debt it is because we have been contracted

                 to do so."

-   -   --   -    — --- --                                                                                                   ----       -
                             15-- - -Venueisproper as--the-conductalleged was committed irithis Distiict-and becauk

                 Plaintiff resides in this District.

                             16.    Jurisdiction is proper in this Court under the FDCPA, 15 U.S.C. § 1692k(2)(d),

                 because this Court is a court of competent jurisdiction to adjudicate actions brought under the

                 FDCPA.
                                                            ;

                                                                 Back6round

                             17.    Hise received a.nd reviewed a January 13, 2021 dunning letter sent to her by ERC.

        ~        Exhibit 1, ERC Dunning Letter ("the Letter").                                                                      ,

                             18.    The Letter states that Hise owes a debt to "Sprint" in the amount of $565.70.

                             19.    The Letter states that the letter is from a debt collector.

                             20.    Hise previously
                                               .
                                                    held an account with Sprint when she lived in the State of Ohio.
                                                                                              ~
                             21.    Hise has never held an account with Sprint since living in the State of Illinois.

                             22.    Hise has made no payments to Sprint in the last nine years.

                             23.    On information and belief, the applicable statute of limitations in Ohio to the Sprint

                 account referenced in the Letter is a maximum of eight years.




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         Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 5 of 14 Page ID #8




                24.     The Letter did not state that ERC was time-barred from enforcing the debt under

        the applicable statute of limitation.

                25.     The Letter 'did not state that suit could not be filed to enforce the debt.

                26.     The Letter did not state that providing partial payment would revive ERC's

        extinguished right to collect the remaining balance.

                27.     Unbelcnownst to Hise, the Letter attempted to persuade Hise to make a partial

        payment to revive Sprint's ability to collect the remaining balance.

-   ----~-- 28. —The Letter states that ERC-is"authorized to settleyour accouritforlessthanthe full —              --

        original balance in the amount of $282.85."

               29.      The Letter's offer to "settle" the account is not truly a settlement offer as ERC states

        that "upon completion of the settlement ... all, future collection efforts will cease, and the
                                                                                                    .
                                                                                                       residual

        balance will remain with Sprint."
                                                                                                 ~

               30.      The Letter does not state that by accepting the settlement offer that Hise would

        forfeit the protection of the applicable statute of limitation.

               31.      On information and belie~ Exlubit '1 is a form letter prepared arid sent to consumers

        by ERC.

               32.      On information and belief; a substantially similar version of Exhibit 1 was sent to

        the putative class members.
                                       4



               33.      ERC's failure to provide Hise and the putative class members that the debts were

        time-barred put Hise and the putative class members_ at risk of paying the time-barred debts and

        renewing the applicable statute of limitations.




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           Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 6 of 14 Page ID #9




                  34.     ERC's atternpt to get Hise and the putative class members to pay a"settlement"

         amount put Hise and the class members at risk of paying the time-barred debts and renewing the

         applicable statute of limitatioris.

                  35.     ERC's assertion that it was offering H.ise and the putative class members a

         "settlement" of the debts -vvhen in reality the debts would not be settled was an assertion inade for

          the purpose of inducing Hise and the putative class members to pay the debts.

            COUNT I— VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT —
                                                 15 U.S.C. §1692 et sea.

                  36.     Hise incorporates all previous paragraphs as if fully stated in this Count.

                  37.     Hise seeks recovery individually, and on behalf a similarly situated class defined

         below.

                  38.     Hise and the putative class members are "consumers" as defined by the Fair Debt

         Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692a(6), because they are natural persons and

         are alleged by ERC to owe a debt.

                  39.     This lawsuit concerns a"debt" as defined by the FDCPA, 15 U.S.C. § 1692a(5),
                                                                                                               ,
                                                                                                     r

          because ERC alleged Hise and the putative class members owed a sum of inoney arising out of

—------ transactions that were-primarily for personal, family or household purposes.                --- ---          --

                  40.     ERC is a"debt collector" as defined by the FDCPA, 1-5 U.S.C. § 1692a(6), because

          it regularly collects or attempts to collect, directly ,or indirectly, debts owed or asserted to be owed

          to other entities

                  41.     ERC is a"debt collector"-as defined by the FDCPA, 15 U.S.C. § 1692a(6), because

          it uses interstate commerce or the mails for a business the principal purpose of which is the

          collection of debts.

                - 42:    LRC's actions violate 15 -U.S.C. § 1692e because ERC's actions-set forth above                   n



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      Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 7 of 14 Page ID #10




     concerning its collection of time=barred debts and in asserting that ERC was offering to settle the

     debts constitutes a false, deceptive or misleading means to collect a debt.

             43.     ERC's actions violate 15 U.S.C. § 1692e(2)(A) because ERC's actions set forth

     above concerning its collection of time-barred debts misrepresented the legal status of the debts.

             44.     ERC's actions violate.l5 U.S.C. § 1692e(10) because ERC's actions set forth above

     concerning its collection of time-barred debts and in asserting that ERC was offering to settle the

     debts constitute ihe use of a false-representation and/or a deceptive means to collect or attempt to



             45.     ERC's actions violate 15 U.S.C. § 1692f because ERC's actions set forth above

     concerning its collection of time-barred debts and in asserting that ERC was offering to settle the

     debts constitute an urifair and/or unconscionable means to collect a debt.
                               ►

             46.     Pursuant to Illinois Code of Civil Procedure 5/2-801 and 5/2-802(a); Hise seeks to
                                                                      ~                              -
     represent two classes of persons defined as follows:

             Statute of Limitation Disclosure Class: All individuals in the United States from
        ,    one year before the filing of this lawsuit until the date of class certification who
             received a co,llection letter from ERC and the subject debt had expired under the
             applicable statute of limitations.

             Settlement Letter Class: All-individuals in the United States from one year before        --
             the filing of this lawsuit until the date of class certification to whom ERC sent a
             letter in which ERC made an offer .of settlement and stated the residual balance
             would remain with the creditor.
                ~                                                                         .
                                                                                                       D

             47.     On information and belief, there are hundreds, if not thousands of putative class

     members, making joinder of all class mernbers is impracticable.

             48.    Hise's claims are typical of the claims of the putative class members.

            49.     Common questions of law and fact apply to the class. These questions may include,

     but are not limited to:




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    Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 8 of 14 Page ID #11




           a)      Whether ERC is a"debt collector" as defined by the FDCPA;

           b)      Whether ERC's conduct as described in this Complaint is governed by. the FDCPA;

           c)      VJhether ERC attempted to collect debts. beyond.the applicable statutes of limitation

    without disclosing to consumers that the statute of limitation had expired;

           d).     Whether ERC communicated to consumers that , it was making an offer of

    settlement while allowing the remaining balance to remain with the creditor;

           e)      Whether ERC's actions violate the FDCPA;

                   Wliethef ERC used false,deceptive,"or -misleadingormisleading means fo collect

    or attempt to collect debts from Hise and the putative class members; and,

           g)      Whether ERC used unfair or unconscionable means 'to collect or attempt to collect

    debts from Hise and the putative-class members.        •                 k



           50.     Hise will fairly and adequately represent the putative class members.,                    ,
,
           51.     Hise has retained counsel experienced in the prosecution of class actions, and Hise

    is committed to vigorously prosecuting the claims.

           52.     Questions of law-and fact common to the.putative class members predominate over

    any questions of fact or law affecting any individual member of the putative class.

           53.     A class action is superior to other methods for the fair and efficient adjudication of

    this controversy.
                                          -                ~
                                k
           54.     Due to ERC's iliegal coriduct as described above, the putative class members are

    entitled to actual damages under the, FDCPA, 15 U.S.C. § 1692k(a)(1). Specifically, the putative

    class meinbers are entitled to all amounts paid to ERC after ERC sent them a letter that: a) failed

    to disclose that the applicable statute of limitation had run; or, b) made an offer of settlement but,

    stated that the residual balance would remain with the creditor.

                                                          . • , -.


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           Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 9 of 14 Page ID #12




                    55.    Due to ERC's illegal conduct as described above, Hise is entitled to statutory

          damages of $1,000.00 under the FDCPA, 15 U.S.C. § 1692k(a)(2)(B)(i).

                    56.    Due to ERC's illegal conduct as described above, the putative class members are

          entitled to siatutory damages under the FDCPA, 15 U.S.C. § 1692k(a)(2)(B)(ii).

                    57.    ERC's acts, as described above, were done intentionally with the purpose of

          coercing Hise and the ptttative class members to pay the alleged debts.

                    58.    Due to ERC's illegal conduct as described above, Plaintiff and the putative class
                ,
------ merribersare-entitled-tocostsand attorrieys'-feesundertheFDCPA,- 15 U.-S:C.—§ 1692k(a)(3)--- --~— -
                                                PRAYER FOR RELIEF

                    WHEREFORE Plaintiff MacKenzie Hise, individually, and on behalf of all others similarly

          situated, requests that the Court enter a judgment against Enhanced Recovery Company, LLC, in

          excess of $50,000.00 and grant the following relief:
                                                     ,
                    a)     enter an order pursuant to Illinois Code of Civil Procedure 5/2-801 and 5/2-802(a),

           certifying this action as a class action, and appointing MacKenzie Hise as class representative;

            ,       b) '   enter an order appointing Butsch Roberts & Associates LLC as class counsel;

                    c)     enter judgment in favor of MacKenzie Hise, and the class for all damages available

           under the Fair Debt Collection Practices Act, including actual damages, statutory damages,

           attorneys' fees and costs incurred in bringing this action;                                           ~
  a                                                                                     r

                    d)     enter an order or judgment declaring that ERC's conduct violates the FDCPA;

                    e) .    award MacKenzie Hise and.the class all expenses incurred in the litigation and

           require ERC to pay the costs and expenses of class notice and administration; and,

                    f)     award MacKenzie Hise and the class all taxable court costs, any applicable pre-

           judgment and post judgment interest and any other relief that this Court deems just and proper.




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Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 10 of 14 Page ID #13




Dated: February 15, 2021                         JuRY TRIAI, DEMA1vDED

                                                 BUTSCI3 ROBERTS & ASSOCIATES LLC

                                         By: /s/ Christopher E. Roberts
                                             David T. Butsch #6205434IL
                                             Christopher E. Roberts #6302857IL
                                             231 South Bemiston Ave., Suite 260
                                             Clayton;1V10 63105
                                             (314) 863-5700 (telephone)
                                             (314) 863-5711 (fax)
                                             butsch@butschroberts.com
--- — ----     -                 -----     roberts@butschroberts.-corri--           -

                                                 Counsel for MacKenzie Hise




                                             ►




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                Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 11 of 14 Page ID #14
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            Defendant! .                         2.       Contact informa₹ion for the-Plaintif#lPetitioner:
            Respondent.                                   Name (First, Midde, tast): Mackenzie Hise c10 Chris Roberts - Butsch Roberts & Associates
            ln ?, enter your                              Street Address, Apt #: 231 S. Beniiston Avenue, Suite 260
            contact information.
                                                          City, State, ZIP: Clayton, Missouri 63105
            If more than I person
            is bringing this                              Telephone: 314-863-5700                 t
            lawsuit, attach an                            See attacfied for additional Plaint'
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            Su-S 1503.1                                                                   Page 1 of 4                                                              (09/18)


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        In 4; the Circuit Clerk                               4.   Instructions for person receiving this form (Defendant/Respondent):
        will give you the court                                    To respond to this Summons you- must:
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        Respondent must file                                                          File a written Appearance and AnswerlResponse with Ehe court:
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                                                                   ®                  File a written Appearance and AnswerlResponse with the court within 30 days from
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tt;e ease ~yas rlea.           Mackenzie Hise fJkla MacKenzie Brown
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P{aintiffJPetitioner.
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it.                              that 1. served the Summons and ComplaintiPetition on the DefendantlRespondent

                                                                                                            as follows:
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                                       ❑       Personally on the DefendantlRespondent:
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                                       ❑       At the DefendantlRespondent's home:
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SU-S 1503.1                                                                  Page 3 of A '                                                             (09118)




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   Case 3:21-cv-00317-RJD Document 1-1 Filed 03/19/21 Page 14 of 14 Page ID #17
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